Case 1:14-cr-00068-LGS Document 364-3 Filed 07/02/19 Page1of1

ee

STATE OF COLORADO, ss:

I, _Cheryl Stevens Clerk of the Supreme Court of the State of

Colorado, do hereby certify that

Zachary Lee Newland

has been duly licensed and admitted to practice as an

~ ATTORNEY AND (OUNSELOR AT LAW

within this State; and that his/her name appears upon the Roll of Attorneys

and Counselors at Law in my office of date the 25"
day of September A.D. 2018 and that at the date hereof
the said Zachary Lee Newland

is in good standing at this Bar.

IN WITNESS WHEREOEF, I have hereunto subscribed my name and
affixed the Seal of said Supreme Court, at Denver, in said State, this

St
yg July 4p 2019

Cheryl Stevens

By C {

